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THE ORD FIRM, P.C.
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Attorney for Plaintiff

                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 Samuel Burningham,                               Case No.: 2:17-cv-00857-DS

                 Plaintiff,
                                                   STIPULATION FOR DISMISSAL WITH
 v.
                                                             PREJUDICE

 Michaels Stores
 d.b.a. Michaels Stores #1091,                    Assigned to Honorable David Sam

                 Defendant.


         PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

Plaintiff, Samuel Burningham and Defendant, Michaels Stores, hereby stipulate that the above-

entitled Action be dismissed with prejudice, with each side to bear its own fees’ and costs.


         RESPECTFULLY submitted on this 26th day of April 2018.




  /s/ James K. Ord, III                            /s/ Matthew L. Anderson (with permission)
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     Case 2:17-cv-00857-DS Document 12 Filed 04/26/18 PageID.39 Page 2 of 2




                                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of April 2018, I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and transmittal of
a Notice of Electronic filing to be served upon all e-filing counsel of record as follows:


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/s/ Lisa Stamper*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)




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